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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                CASE NO.: 22-CV-81037-AMC



  MARK KRIEGER,

                            Plaintiff,

  vs.

  TD BANK, N.A. et al,

                            Defendants.

  _______________________________________/


                             ORDER TO SHOW CAUSE

        This matter comes before the Court sua sponte. On April 5, 2023, Defendants

  Trans Union LLC and Equifax Information Services, LLC filed a Joint Motion for

  Judgment on the Pleadings (“Motion”). ECF No. 53. Pursuant to Local Rule 7.1 (c)(1),

  Plaintiff Mark Krieger’s response to the Motion was due on or before April 19, 2023.

  To date, Mr. Krieger has not filed a response to the Motion. Failure to timely respond

  after service of a motion “may be deemed sufficient cause for granting the motion by

  default.” See SDFL Local Rule 7.1(c)(1).

        WHEREFORE, on or before May 2, 2023, at 5:00 p.m. Eastern time,

  Mr. Krieger shall show cause why he failed to timely respond to the Motion and why

  this Court should not recommend that the District Judge grant the Motion based on
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  his failure to respond (ECF No. 53). Failure to timely respond may result in the Court

  recommending that the Motion be granted by default.

        DONE and ORDERED in Chambers at West Palm Beach, Palm Beach

  County, in the Southern District of Florida, this 25th day of April 2023.



                                         __________________________________
                                         BRUCE E. REINHART
                                         UNITED STATES MAGISTRATE JUDGE




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